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                           IN UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


BONNI BUCCINI,                                 )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )       Case No. 1:19-cv-3672
                                               )
WALMART INC.                                   )
                                               )
                                               )
              Defendant.                       )
                                               )

                                           COMPLAINT

          Plaintiff, Ms. Bonni Buccini (“Buccini” and “Plaintiff”), by and through her attorneys,

Pietrucha Law Firm, LLC, for her Complaint against the Defendant, Walmart Inc. (“Walmart” and

“Defendant”), alleges and states as follows:

                                  JURISDICTION AND VENUE

     1.    Buccini brings this action under Title VII of the Civil Rights Act of 1964, 42 U.S.C.

§2000(e) et seq. (“Title VII”) for Walmart having discriminated against her during her

employment on the basis of her gender and sexual orientation, and for retaliating against her for

complaining of unlawful workplace discrimination.

     2.    This matter arises under federal law, and this Court therefore has jurisdiction over this

matter pursuant to 28 U.S.C. § 1331.

     3. Venue is proper pursuant to 42 U.S.C. § 2000e et seq. as this is the judicial district where

the unlawful employment practices arose.
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                                           PARTIES

   4. Buccini is an individual who resides in Bureau County, Illinois.

   5. Buccini was employed but is no longer employed by the Defendant.

   6. Walmart is a multinational retail corporation that operates chains of discount department

and grocery stores.

   7. Walmart is a Delaware corporation.

   8. Walmart owns and operates a distribution facility in Spring Valley, Illinois.

   9. At all material times, Walmart was an employer as defined by the statutes listed herein.

                           ADMINISTRATIVE PROCEEDINGS

   10.      On September 4, 2018, Buccini filed a Charge of Discrimination with the Equal

Employment Opportunity Commission (the “EEOC”). See Exhibit A, attached hereto.

   11.    On March 18, 2019, the EEOC issued a Notice of Right to Sue to Buccini. See Exhibit

B, attached hereto.

   12. Buccini exhausted her administrative remedies as required and timely filed this lawsuit

within 90 days of her receipt of the EEOC Notice of Right to Sue.

                                FACTUAL ALLEGATIONS

   13. Defendant Walmart hired Plaintiff Buccini in 1999, and Buccini worked for Walmart for

nearly 20 years.

   14.    Buccini’s most recent role was Area Manager at Walmart’s Spring Valley, Illinois

distribution center.

   15. Buccini is a female, her sexual orientation is homosexual and she is married to a female.

   16. During Buccini’s employment, Walmart was aware of Ms. Buccini’s sexual orientation,

as her wife also works at Walmart.
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   17. Buccini was qualified for her job, but despite her qualifications, in 2011 Walmart demoted

her based on her gender and replaced her with a male employee she was forced to train.

   18. Additionally, since 2011, Ms. Buccini endured a less favorable work environment based

on her gender as Walmart promoted male workers over female workers.

   19. In 2018, Ms. Buccini reported harassment and hostile work environment another female

employee was experiencing based on gender. After reporting the issue, Walmart told Ms. Buccini

her shift would be reassigned, under the pretext of business needs.

   20. Ms. Buccini could not work the new shift hours, requested an appropriate shift to meet her

childcare and family needs, but was denied and treated less favorably than heterosexual married

couples who needed to meet childcare and family needs.

   21. Walmart changed Ms. Buccini’s shift for discriminatory and retaliatory reasons based on

Ms. Buccini’s gender and sexual orientation, and in retaliation for reporting a harassment issue of

a female coworker.

   22. As a result of this change in working conditions, Ms. Buccini was forced to resign as

Walmart’s shift change created a childcare hardship.

   23. Ms. Buccini was constructively terminated from Walmart on October 5, 2018, and she

was forced to take a new job with a new company.

                                       COUNT I
                          TITLE VII GENDER DISCRIMINATION

   24. Buccini realleges paragraphs 1-23 above as if fully repleaded herein.

   25. Ms. Buccini was subjected to discrimination, less favorable terms, conditions and different

job assignments in her employment with Walmart because of her gender.

   26. Defendant’s actions violated Title VII.

   27. Defendant’s actions were deliberate, willful and in reckless disregard for Ms. Buccini’s
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civil rights.

    28. Ms. Buccini has suffered damages as a result of Defendant’s unlawful conduct.

    29. As a direct and proximate cause of the unlawful and discriminatory practices alleged, Ms.

Buccini has suffered lost compensation and other monetary benefits, lost future employment

opportunities, severe emotional and psychological distress, and other damages to be proven at trial.

                                    COUNT II
                 TITLE VII SEXUAL ORIENTATION DISCRIMINATION

    30. Buccini realleges paragraphs 1-23 above as if fully repleaded herein.

    31. Ms. Buccini was subjected to discrimination, less favorable terms, conditions and different

job assignments in her employment with Walmart because of her sexual orientation.

    32. Defendant’s actions violated Title VII.

    33. Defendant’s actions were deliberate, willful and in reckless disregard for Ms. Buccini’s

civil rights.

    34. Ms. Buccini has suffered damages as a result of Defendant’s unlawful conduct.

    35. As a direct and proximate cause of the unlawful and discriminatory practices alleged, Ms.

Buccini has suffered lost compensation and other monetary benefits, lost future employment

opportunities, severe emotional and psychological distress, and other damages to be proven at trial.

                              COUNT III
     RETALIATION/FAILURE TO INVESTIGATE/CONSTRUCTIVE DISCHARGE

    36. Buccini realleges paragraphs 1-23 above as if fully repleaded herein.

    37. Ms. Buccini was subjected to discrimination, less favorable terms, conditions and different

job assignments in her employment with Walmart because of her reporting of harassment, a hostile

work environment, and discrimination and was constructively discharged.

    38. Walmart knowingly and intentionally refused to adequately and sufficiently investigate
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Ms. Buccini’s complaints.

    39. Defendant’s actions violated Title VII.

    40. Defendant’s actions were deliberate, willful and in reckless disregard for Ms. Buccini’s

civil rights.

    41. Ms. Buccini has suffered damages as a result of Defendant’s unlawful conduct.

    42. As a direct and proximate cause of the unlawful and discriminatory practices alleged, Ms.

Buccini has suffered lost compensation and other monetary benefits, lost future employment

opportunities, severe emotional and psychological distress, and other damages to be proven at trial.

                                     PRAYER FOR RELIEF

        For each of these violations, Plaintiff Ms. Bonni Buccini seeks to recover the following:

            1. Compensatory damages in an amount to be determined by a jury.

            2. Punitive damages in an amount to be determined by a jury.

            3. Reasonable expenses, including but not limited to attorney fees.

            4. Any further relief that may be appropriate.

                                         JURY DEMAND

        Plaintiff demands a trial by jury.

                                                             Respectfully submitted,
                                                             /s/ Cynthia N. Pietrucha

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